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Twelve (12) months as to Counts 3 and 4 of the Indictment, with both counts to run concurrently.




        FMC Carswell and Satellite Camp.
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Twelve (12) months as to Count 3 and Thirty-Six (36) months as to Count 4, with both counts to run concurrently.
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Restitution Obligation – Beginning three (3) months after your release from incarceration, you must pay the balance of any
restitution owed at a rate of no less than $50 per month. As appropriate, you must pay the balance at a rate of no less than
$100 per month.

Financial Information Disclosure - You must provide the probation officer access to any requested financial information and
authorize the release of any financial information until such time as the financial obligations are paid in full. The probation
office may share financial information with the United States Attorney’s Office.

Financial Restrictions - You must not incur new credit charges, or open additional lines of credit without the approval of the
probation officer until such time as the financial obligations are paid in full.

Contact Restriction - You must not associate, communicate, or otherwise interact, with any known or unknown member of
a terrorist organization, or any other known or unknown criminal extremist group or individual. This includes persons who
are, or claim to be, involved with violent acts, or advocating for acts of violence, and any persons who are located outside
the United States without the approval of the Court. If you inadvertently associate, communicate, or otherwise interact with
a known terrorist or extremist group or individual, you must immediately report this to the probation officer.

Social Media Restriction - You must seek the approval of the probation officer if you wish to access, view, or use any
online social media. You must not download any social media apps to your phone or computer. You must not access
social media on any other device not approved by the probation officer. Social media includes social media sites, chat
services, blogs, instant messages, SMS, MMS, digital photos, video sharing websites, or any other interactive, online, or
electronic communication applications or sites.

Cybercrime Management - You are ordered to participate in cybercrime management and will inform your officer of all
computer devices possessed or accessible to you. This includes (a) desktop or laptop computers; (b) smartphones, smart
watches, and tablets; (c) smart appliances/Internet of Things (IoT) devices, including hub or personal assistant devices;
and (d) all network accessing devices, including internet-connectable gaming systems. You will not acquire or access any
new or additional computer devices unless approved by your officer. You will also inform your officer of all your computer
device, internet service provider (ISP), and social media user accounts (local and on-line services), both upon entering
supervision and in the event that you create or receive additional user accounts.

Computer Monitoring with Internet- You are permitted use of standard computer device(s) (desktop/laptop computers,
smart phones/tablets) with internet access and will permit the U.S. Probation Office to configure, manage, and install
monitoring software on all your approved standard computer devices. Your standard computer device(s) are limited to
those that can be configured, managed, and monitored by the U.S. Probation Office. The configuration, management, and
monitoring of your standard computer devices shall be specific to your Court ordered conditions, risk and needs, and
cybercrime management requirements.

Search/Seizure - You must submit your computer devices, other electronic communications, network or cloud storage,
data storage devices or media; to a search conducted by a United States probation officer. The probation officer may
conduct a search under this condition only when reasonable suspicion exists that you have violated a condition of
supervision and that the areas to be searched contain evidence of this violation. Any search must be conducted at a
reasonable time and in a reasonable manner. Failure to submit to a search may be grounds for revocation of
release. You must warn any other occupants that the premises may be subject to searches pursuant to this condition.

Mental Health Treatment - You must participate in a mental health treatment program and follow the rules and regulations
of that program. The probation officer, in consultation with the treatment provider, will supervise your participation in the
program (provider, location, modality, duration, intensity, etc.).

Mental Health Medication - You must take all mental health medications that are prescribed by your treating provider.
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Location Restriction - You must not knowingly enter the United States Capitol Building or onto surrounding grounds known
as Capitol Square and consisting of the square block bounded by Constitution Avenue, NW and NE, to First Street, NE
and SE, to Independence Avenue, SE and SW, to First Street, SW and NW, without first obtaining the permission of the
probation officer and/or the Court.

Location Restriction - You must not knowingly enter the District of Columbia without first obtaining the permission of the
probation officer and/or the Court.

Community Service - You must complete 120 hours of community service. The probation officer will supervise the
participation in the program by approving the program. You must provide written verification of completed hours to the
probation officer.
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                 125.00                 2,000.00




Clerk of the Court for the United States

District Court, District of Columbia, for
disbursement to the following victim:



Architect of the Capitol                                                         $2,000.00

Office of the Chief Financial Officer
Ford House Office Building, Room H2-205B

Washington, DC 20515




                                                   0.00                    2,000.00


                                                          2,000.00
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                         2,125.00




The financial obligations are immediately payable to the Clerk of the Court for the U.S. District
Court, 333 Constitution Ave NW, Washington, DC 20001. Within 30 days of any change of
address, you shall notify the Clerk of the Court of the change until such time as the financial
obligation is paid in full.
